      Case 1:07-cr-00245-WMS         Document 328       Filed 06/02/09    Page 1 of 2




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

         v.                                                       DECISION AND ORDER
                                                                       07-CR-245S
RYAN POTTER,

                            Defendant.


         1.   On April 28, 2009, the Defendant entered into a written plea agreement

(Docket No. 300) and pled guilty to a Count 1 of the Indictment charging a violation of Title

21, U.S.C. 846 (conspiracy to possess with intent to distribute and to distribute cocaine

base),

         2.   On April 28, 2009, the Honorable Hugh B. Scott, United States Magistrate

Judge, filed a Report and Recommendation (Docket No. 302) recommending that

Defendant’s plea of guilty be accepted and the Defendant adjudicated guilty.

         3.   This Court has not received objections to the Report and Recommendation

in accordance with 28 U.S.C. §636(b)(1)(C) and Local Rule 58.2(a)(3).

         4.   This Court has carefully reviewed de novo Judge Scott’s Report and

Recommendation, the plea agreement, transcript of the proceeding, and the applicable

law. Upon due consideration, this Court finds no legal or factual error in Judge Scott’s

Report and Recommendation, and will accept Judge Scott’s recommendation that

Defendant’s plea of guilty be accepted and that the Defendant be adjudicated guilty as

charged.
     Case 1:07-cr-00245-WMS        Document 328      Filed 06/02/09   Page 2 of 2




      IT HEREBY IS ORDERED, that this Court accepts Judge Scott’s Report and

Recommendation (Docket No. 302) in its entirety, including the authorities cited and the

reasons given therein.

      FURTHER, that the plea of guilty of Defendant Ryan Potter is accepted, and he is

now adjudged guilty of Title 21, U.S.C. 846.

      SO ORDERED.


Dated: May 29, 2009
       Buffalo, New York


                                                       /s/William M. Skretny
                                                       WILLIAM M. SKRETNY
                                                     United States District Judge




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